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 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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10   JOSE E. QUIROGA,                       )   Case No.: 5:20-cv-01169-JAK-SK
                                            )
11                  Plaintiff,              )   ORDER AWARDING EQUAL
                                            )   ACCESS TO JUSTICE ACT
12         vs.                              )   ATTORNEY FEES AND EXPENSES
                                            )   PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,                       )   AND COSTS PURSUANT TO 28
     Acting Commissioner of Social          )   U.S.C. § 1920
14   Security,                              )
                                            )
15                  Defendant               )
                                            )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal

18   Access to Justice Act Fees, Costs, and Expenses:

19         IT IS ORDERED that fees and expenses in the amount of $4,000.00 as

20   authorized by 28 U.S.C. § 2412, and costs in the amount of $42.50 as

21   authorized by 28 U.S.C. § 1920, be awarded subject to the terms of the

22   Stipulation.

23   DATE: September 22, 2021        ___________________________________
                                     THE HONORABLE STEVE KIM
24                                   UNITED STATES MAGISTRATE JUDGE

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